     Case 3:23-cv-00425-L-BGS Document 25 Filed 10/06/23 PageID.339 Page 1 of 5



 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11                           UNITED STATES DISTRICT COURT
12                         SOUTHERN DISTRICT OF CALIFORNIA
13
14   ERICA MIKULSKY,                                    Case No.: 23-cv-425-L-WVG
15                                     Plaintiff,
                                                        ORDER GRANTING MOTION TO
16   v.                                                 DISMISS WITH LEAVE TO AMEND
17   BLOOMINGDALE’S, LLC, and
                                                        [ECF No. 13]
     BLOOMINGDALES.COM, LLC,
18
                                     Defendants.
19
20         Pending before the Court is Defendants Bloomingdales.com, LLC and
21   Bloomingdales.com, LLC’s (collectively, “Defendants”) motion to dismiss the complaint.
22   (ECF No. 13.)     Plaintiff Erica Mikulsky (“Plaintiff”) opposed, (ECF No. 14), and
23   Defendants replied, (ECF No. 15). The Court decides the matter on the papers submitted
24   without oral argument. See Civ. LR 7.1(d.1). For the reasons set forth below, Defendants’
25   motion to dismiss is granted.
26   I.    INTRODUCTION
27         According to the allegations in the amended complaint, Defendants embed “session
28   replay” software code on the bloomingdales.com website that collects information about a

                                                    1
                                                                                23-cv-425-L-WVG
     Case 3:23-cv-00425-L-BGS Document 25 Filed 10/06/23 PageID.340 Page 2 of 5



 1   visitor’s navigation of the website such as mouse movements and keystrokes. (ECF No.
 2   1, Compl., at 8.)         Plaintiff is a California resident who claims she visited
 3   bloomingdales.com while in California and Defendants “secretly intercept[ed] and
 4   record[ed]” her communications to the website. (Id. at 2–3.) Plaintiff now brings a claim
 5   under section 631 of the California Penal Code for unlawful wiretapping and interception
 6   of electronic communications and a claim for intrusion upon seclusion. (Id. at 20–24.)
 7   Defendants, both citizens of Ohio and New York, move to dismiss the complaint for lack
 8   of personal jurisdiction and for failure to state a claim. (ECF No. 13.)
 9   II.   LEGAL STANDARD
10         A complaint may be dismissed for lack of personal jurisdiction under Federal Rule
11   of Civil Procedure 12(b)(2). “Personal jurisdiction over a nonresident defendant is tested
12   by a two-part analysis. First, the exercise of jurisdiction must satisfy the requirements of
13   the applicable state long-arm statute. Second, the exercise of jurisdiction must comport
14   with federal due process.” Chan v. Soc’y Expeditions, Inc., 39 F.3d 1398, 1404–05 (9th
15   Cir. 1994). California’s long-arm statute provides that a court “may exercise jurisdiction
16   on any basis not inconsistent with the Constitution of this state or of the United States.”
17   Cal. Civ. Proc. Code § 410.10. This statute allows courts to exercise personal jurisdiction
18   within the limits of due process. Mattel, Inc. v. Greiner & Hausser GmbH, 354 F.3d 857,
19   863 (9th Cir. 2003). It follows that compliance with due process satisfies both parts of the
20   test for personal jurisdiction.
21         Due process demands that a nonresident defendant have “certain minimum contacts”
22   with the forum “such that the maintenance of the suit does not offend traditional notions of
23   fair play and substantial justice.” Int’l Shoe Co. v. State of Wash., Off. of Unemployment
24   Comp. & Placement, 326 U.S. 310, 316 (1945). This “minimum contacts” requirement
25   can be satisfied by establishing either general or specific jurisdiction. Schwarzenegger v.
26   Fred Martin Motor Co., 374 F.3d 797, 801–02 (9th Cir. 2004). Plaintiff only alleges
27   specific jurisdiction over Defendants.
28

                                                  2
                                                                                  23-cv-425-L-WVG
     Case 3:23-cv-00425-L-BGS Document 25 Filed 10/06/23 PageID.341 Page 3 of 5



 1          The Ninth Circuit employs a three-part test to determine whether a party is subject
 2   to specific jurisdiction:
 3          (1) The non-resident defendant must purposefully direct his activities or
            consummate some transaction with the forum or resident thereof; or perform
 4
            some act by which he purposefully avails himself of the privilege of
 5          conducting activities in the forum, thereby invoking the benefits and
            protections of its laws;
 6
 7          (2) the claim must be one which arises out of or relates to the defendant's
            forum-related activities; and
 8
            (3) the exercise of jurisdiction must comport with fair play and substantial
 9
            justice, i.e. it must be reasonable.
10
11   Boschetto v. Hansing, 539 F.3d 1011, 1016 (9th Cir. 2008).
12          “If the plaintiff succeeds in satisfying both of the first two prongs [of the test
13   for minimum contacts], the burden then shifts to the defendant to ‘present a
14   compelling case’ that the exercise of jurisdiction would not be reasonable.”
15   Schwarzenegger, 374 F.3d at 802 (quoting Burger King Corp. v. Rudzewicz, 471
16   U.S. 462, 477 (1985)). “[W]here, as here, the motion is based on written materials
17   rather than an evidentiary hearing, the plaintiff need only make a prima facie
18   showing of jurisdictional facts.” Id. That is, the plaintiff need only demonstrate
19   facts that support a finding of jurisdiction. Data Disc, Inc. v. Sys. Tech. Assocs.,
20   Inc., 557 F.2d 1280, 1285 (9th Cir. 1977). In determining whether Plaintiff has met
21   this burden, the Court “may not assume the truth of allegations in a pleading which
22   are contradicted by affidavit,” Mavrix Photo, Inc. v. Brand Techs., Inc., 647 F.3d
23   1218 (9th Cir. 2011), but “conflicts between the facts contained in the parties’
24   affidavits must be resolved in [Plaintiff’s] favor,” Am. Tel. & Tel. Co. v. Compagnie
25   Bruxelles Lambert, 94 F.3d 586, 588 (9th Cir. 1996).
26   III.   DISCUSSION
27          “The first prong of the specific jurisdiction test refers to both purposeful direction
28   and purposeful availment.” Mavrix, 647 F.3d at 1228. While they are distinct concepts,

                                                    3
                                                                                      23-cv-425-L-WVG
     Case 3:23-cv-00425-L-BGS Document 25 Filed 10/06/23 PageID.342 Page 4 of 5



 1   “[a]t bottom, both purposeful availment and purposeful direction ask whether defendants
 2   have voluntarily derived some benefit from their interstate activities such that they ‘will
 3   not be haled into a jurisdiction solely as a result of “random,” “fortuitous,” or “attenuated”
 4   contacts.’” Glob. Commodities Trading Grp., Inc. v. Beneficio de Arroz Choloma, S.A.,
 5   972 F.3d 1101, 1107 (9th Cir. 2020) (quoting Burger King, 471 U.S. at 474–75).
 6         In the context of internet-based activity, “operation of an interactive website does
 7   not, by itself, establish express aiming.” Herbal Brands, Inc. v. Photoplaza, Inc., 72 F.4th
 8   1085, 1091 (9th Cir. 2023). “But operating a website ‘in conjunction with “something
 9   more”—conduct directly targeting the forum—is sufficient’ to satisfy the express aiming
10   prong.” Id. (quoting Mavrix, 647 F.3d at 1229). The sale of a physical product into the
11   forum via an interactive website qualifies as the “something more” to satisfy purposeful
12   availment as long as the sale occurred as part of the defendant’s regular course of business
13   and the defendant exercised some level of control over the ultimate distribution of its
14   product. Id. at 1094.
15         Here, Plaintiff alleges that Defendants operate the interactive website
16   www.bloomingdales.com which allows users to purchase merchandise to be delivered or
17   picked up in California. (ECF No. 1, at 3–4.) The Court finds that these sales occur as a
18   regular part of Defendants’ businesses and that Defendants exercise some level of control
19   over the ultimate distribution of their products. Thus Defendants have purposefully availed
20   themselves in California and the first prong of the specific jurisdiction test is satisfied.
21         “The second prong of the specific jurisdiction inquiry requires that a plaintiff’s
22   claims ‘arise out of or relate to the defendant’s contacts with the forum.’” Herbal Brands,
23   Inc., 72 F.4th at 1096 (quoting Ford Motor Co. v. Mont. Eighth Jud. Dist. Ct., 141 S. Ct.
24   1017, 1025 (2021)). There must be some “relationship among the defendant, the forum,
25   and the litigation.” Ford, 141 S. Ct. at 1028. Looking only to the factual allegations in the
26   complaint, the Court finds that relationship lacking here. The claims here arise solely out
27   of Plaintiff’s browsing of Defendants’ website and Defendants’ use of session replay code.
28   The “something more” that establishes Defendants’ relationship with the forum—the

                                                    4
                                                                                      23-cv-425-L-WVG
     Case 3:23-cv-00425-L-BGS Document 25 Filed 10/06/23 PageID.343 Page 5 of 5



 1   physical sale of merchandise in California—does not underlie, or even relate to, Plaintiff’s
 2   claim of digital eavesdropping. Plaintiff has thus failed to show any connection between
 3   Defendants’ forum-related contacts and the harm she suffered. Accordingly, this Court
 4   lacks personal jurisdiction over Defendants. See Goodyear Dunlop Tires Operations, S.A.
 5   v. Brown, 564 U.S. 915, 930 n.6 (2011) (“[E]ven regularly occurring sales of a product in
 6   a State do not justify the exercise of jurisdiction over a claim unrelated to those sales.”).
 7   IV.   CONCLUSION
 8         For the forgoing reasons, Defendants’ motion to dismiss is GRANTED with leave
 9   to amend despite the Court’s skepticism that pleading additional facts could cure the
10   jurisdictional deficiencies noted above. See Schreiber Distrib. Co. v. Serv-Well Furniture
11   Co., 806 F.2d 1393, 1401 (9th Cir. 1986) (“[L]eave to amend should be granted unless
12   the court determines that the allegation of other facts consistent with the challenged
13   pleading could not possibly cure the deficiency.”). Plaintiff shall file an amended
14   complaint, if any, no later than October 27, 2023.
15         IT IS SO ORDERED.
16
17   Dated: October 6, 2023
18
19
20
21
22
23
24
25
26
27
28

                                                    5
                                                                                     23-cv-425-L-WVG
